                                                                         1

                                                                         2

                                                                         3

                                                                         4                                   UNITED STATES DISTRICT COURT

                                                                         5                                  NORTHERN DISTRICT OF CALIFORNIA

                                                                         6

                                                                         7     MARY SWEARINGEN, et al.,                            Case No. 13-cv-04385-EMC

                                                                         8                    Plaintiffs,
                                                                                                                                   ORDER GRANTING DEFENDANT’S
                                                                         9             v.                                          MOTION TO DISMISS
                                                                         10    HEALTHY BEVERAGE, LLC, et al.,                      Docket No. 92

                                                                         11                   Defendants.

                                                                         12
United States District Court
                               For the Northern District of California




                                                                         13                                         I.    INTRODUCTION
                                                                         14          Plaintiffs Mary Swearingen and Robert Figy filed this class action complaint against
                                                                         15   Defendant Healthy Beverage challenging Defendant‟s practice of labeling its products with the
                                                                         16   term “evaporated cane juice” (“ECJ”), which Plaintiffs assert is a misleading term for sugar.
                                                                         17   Currently pending before the Court is Defendant‟s motion to dismiss Plaintiffs‟ Second Amended
                                                                         18   Complaint. Docket No. 92 (“Motion”). The Court GRANTS the motion.
                                                                         19                                         II.   BACKGROUND
                                                                         20   A.     California and Federal Laws Regulating Food Labeling
                                                                         21          Food manufacturers in California must comply with identical state and federal laws and
                                                                         22   regulations that govern the labeling of food products. Foremost among these is the federal Food
                                                                         23   Drug and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA”), including its food labeling
                                                                         24   regulations, 21 C.F.R. § 101 et seq. California‟s Sherman Law adopts and incorporates the
                                                                         25   FDCA, stating that “[a]ll food labeling regulations and any amendments to those regulations
                                                                         26   adopted pursuant to the federal act, in effect on January 1, 1993, or adopted on or after that date
                                                                         27   shall be the food labeling regulations of this state.” California Health & Safety Code § 110100.
                                                                         28   Under the FDCA, food is “misbranded” if “its labeling is false or misleading in any particular,” or
                                                                         1    if it does not contain certain information on its label or its labeling. 21 U.S.C. § 403(a).

                                                                         2            The FDCA requires that ingredients be listed by their common or usual name, which is the

                                                                         3    name established by common usage or by regulation. 21 C.F.R. § 104(a)(1); 21 C.F.R. § 102.5.

                                                                         4    The position of the Food and Drug Administration (“FDA”) is that “evaporated cane juice” is not

                                                                         5    the common or usual name of any sweetener (e.g., sugar). In 2009, the FDA issued Guidance for

                                                                         6    Industry: Ingredients Declared As Evaporated Cane Juice, Draft Guidance (“Draft Guidance”),

                                                                         7    2009 WL 3288507. According to the Draft Guidance, the term ECJ is “false and misleading”

                                                                         8    because it “fails to reveal the basic nature of the food and its characterizing properties (i.e., that the

                                                                         9    ingredients are sugars or syrups) as required by 21 C.F.R. § 102.5.” Id. at *3; 21 U.S.C. 343(a)(1).

                                                                         10   The FDA did not initially finalize its draft guidance. On March 4, 2014, the FDA reopened the

                                                                         11   comment period on the Draft Guidance with the intent to “revise the draft guidance, if appropriate,

                                                                         12   and issue it in final form.” See Swearingen, et al. v. Late July Snacks LLC, 13-CV-4324-EMC
United States District Court
                               For the Northern District of California




                                                                         13   Docket No. 57 (Order on Supp. Briefing); Late July, 13-CV-4324-EMC Docket No. 53-1 (Def.

                                                                         14   Second Request for Judicial Notice, Ex. A, FDA Notice to Reopen Comment Period). On May 25,

                                                                         15   2016, the FDA issued its final guidance on the use of the term “evaporated cane juice,” titled

                                                                         16   “Ingredients Declared as Evaporated Cane Juice: Guidance for Industry” (“Final Guidance”). Late

                                                                         17   July, 13-CV-4324-EMC Docket No. 92. The Final Guidance states that “the common or usual

                                                                         18   name for an ingredient labeled as „evaporated cane juice‟ includes the term „sugar‟ and does not

                                                                         19   include the term „juice.‟” Final Guidance at 7. This is because the “basic nature” of ECJ is a

                                                                         20   “sugar.” Final Guidance at 7.

                                                                         21   B.      Facts and Procedural History

                                                                         22           Healthy Beverage is a producer of food products that sells its products, including Steaz

                                                                         23   Iced Green Tea and Steaz Organic Energy Drinks, to consumers through grocery and other retail

                                                                         24   stores throughout the United States and directly to consumers through its website. SAC ¶ 2.

                                                                         25   Healthy Beverage uses the term “evaporated cane juice” on its package labels for, e.g., Steaz Iced

                                                                         26   Green Tea with Blueberry Pomegranate, Steaz Iced Green Tea with Peach, and Steaz Organic

                                                                         27   Energy Drink Orange; its product labeling does not use the term “added sugar”. SAC ¶ 4, 35. The

                                                                         28   company uses the same term (“evaporated cane juice”) on its website and in advertising. SAC ¶
                                                                                                                                  2
                                                                         1    113.

                                                                         2           Plaintiffs Mary Swearingen and Robert Figy, citizens of California, bought and purchased

                                                                         3    Healthy Beverage products Steaz Iced Green Tea with Blueberry Pomegranate, Steaz Iced Green

                                                                         4    Tea with Peach, Steaz Organic Energy Drink Orange, Steaz Organic Energy Drink Berry, and

                                                                         5    Steaz Organic Energy Drink Super Fruit. SAC ¶ 2. The label for these products used the term

                                                                         6    ECJ during the Class Period which is defined as September 30, 2009 to the present. SAC ¶¶ 1,

                                                                         7    135. Plaintiffs are health-conscious consumers who wish to avoid “added sugars” in the products

                                                                         8    they purchase. Id. ¶ 62. As such, they scanned the ingredient lists of the products at issue for

                                                                         9    forms of added sugar and failed to recognize “evaporated cane juice” as one of these forms. Id. ¶

                                                                         10   63. They would not have bought the products had they known that these products contained

                                                                         11   “added sugar.” Id. ¶ 86.

                                                                         12          Plaintiffs first filed a class action complaint for equitable and injunctive relief on
United States District Court
                               For the Northern District of California




                                                                         13   September 20, 2013. Docket No. 1 (Complaint). On April 28, 2014, Defendant filed a motion to

                                                                         14   dismiss the First Amended Complaint, and, in the alternative, to stay the action pending the Ninth

                                                                         15   Circuit‟s decision in Kane, et al. v. Chobani, Inc., No. 14-15670, where the plaintiffs alleged that

                                                                         16   Chobani unlawfully and deceptively used the term “evaporated cane juice” to describe added

                                                                         17   sugar in its yogurt products, and the FDA‟s consideration of ECJ. Docket No. 49. Following the

                                                                         18   FDA‟s notice that it had reopened the comment period on its draft guidance regarding ECJ, this

                                                                         19   Court denied in part the motion to dismiss and stayed the action pursuant to the doctrine of

                                                                         20   primary jurisdiction on June 11, 2014. Docket No. 58.

                                                                         21          On July 22, 2016, after the FDA issued its Final Guidance, this Court lifted the stay.

                                                                         22   Docket No. 89. Plaintiffs filed their Second Amended Complaint shortly after. Docket No. 90.

                                                                         23   Based on their allegations in the Second Amended Complaint, plaintiffs brought claims for: (1)

                                                                         24   violations of the California Business & Professions Code § 17200 (Unfair Competition Law); (2)

                                                                         25   violations of California Business & Professions Code § 17500 (California False Advertising Law)

                                                                         26   (FAL); (3) violations of California Civil Code § 1750, et. seq. (Consumers Legal Remedies Act);

                                                                         27   and (4) unjust enrichment. Docket No. 90 ¶¶ 145-206. Defendant then filed the instant motion to

                                                                         28   dismiss the Second Amended Complaint, and, in the alternative, to strike all references to the
                                                                                                                                 3
                                                                         1    health benefits of green tea and prayers for injunctive relief. Docket No. 92.

                                                                         2                                             III.    DISCUSSION

                                                                         3    A.      Motion to Dismiss Second Amended Complaint

                                                                         4            1.      Legal Standard

                                                                         5            Defendant seeks to dismiss Plaintiffs‟ Second Amended Complaint with prejudice for

                                                                         6    failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6). Motion at 2. Under

                                                                         7    Rule 12(b)(6), a party may move to dismiss based on the failure to state a claim upon which relief

                                                                         8    may be granted. A motion to dismiss based on Rule 12(b)(6) challenges the legal sufficiency of

                                                                         9    the claims alleged. See Parks Sch. of Bus. v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995). In

                                                                         10   considering such a motion, a court must take all allegations of material fact as true and construe

                                                                         11   them in the light most favorable to the nonmoving party, although “conclusory allegations of law

                                                                         12   and unwarranted inferences are insufficient to avoid a Rule 12(b)(6) dismissal.” Cousins v.
United States District Court
                               For the Northern District of California




                                                                         13   Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009). While “a complaint need not contain detailed

                                                                         14   factual allegations . . . it must plead „enough facts to state a claim to relief that is plausible on its

                                                                         15   face.‟” Id. “A claim has facial plausibility when the plaintiff pleads factual content that allows

                                                                         16   the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

                                                                         17   Ashcroft v. Iqbal, 556 U.S. 662 (2009); see also Bell Atl. Corp. v. Twombly, 550 U.S. at 556. “The

                                                                         18   plausibility standard is not akin to a „probability requirement,‟ but it asks for more than sheer

                                                                         19   possibility that a defendant acted unlawfully.” Iqbal, 556 U.S. at 678.

                                                                         20           Claims sounding in fraud or mistake are subject to the heightened pleading requirements of

                                                                         21   Federal Rule of Civil Procedure 9(b), which requires that a plaintiff alleging fraud “must state with

                                                                         22   particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b); see Kearns v. Ford Motor

                                                                         23   Co., 567 F.3d 1120, 1124 (9th Cir.2009). To satisfy the heightened standard under Rule 9(b), the

                                                                         24   allegations must be “specific enough to give defendants notice of the particular misconduct which

                                                                         25   is alleged to constitute the fraud charged so that they can defend against the charge and not just

                                                                         26   deny that they have done anything wrong.” Semegen v. Weidner, 780 F.2d 727, 731 (9th

                                                                         27   Cir.1985). Thus, claims sounding in fraud must allege “an account of the „time, place, and

                                                                         28   specific content of the false representations as well as the identities of the parties to the
                                                                                                                                   4
                                                                         1    misrepresentations.‟ ” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir.2007) (per curiam)

                                                                         2    (internal quotation marks omitted). The plaintiff must set forth “what is false or misleading about

                                                                         3    a statement, and why it is false.” In re Glenfed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir.1994)

                                                                         4    (en banc), superseded by statute on other grounds as stated in Ronconi v. Larkin, 253 F.3d 423,

                                                                         5    429 n. 6 (9th Cir. 2001).

                                                                         6           2.      Plaintiffs‟ UCL, FAL, and CLRA Claims

                                                                         7           As noted above, in this case, Plaintiffs essentially assert fraud-based claims of misleading

                                                                         8    labeling under the UCL, FAL, and CLRA. The UCL prohibits any “unlawful, unfair or fraudulent

                                                                         9    business act or practice.” Cal. Bus. & Prof. Code § 17200. Because § 17200 is written in the

                                                                         10   disjunctive, it establishes “three varieties of unfair competition: practices which are unlawful,

                                                                         11   unfair, or fraudulent.” Cel-Tech Communications, Inc. v. Los Angeles Cellular Telephone, Co., 20

                                                                         12   Cal. 4th 163, 180 (1999). Practices are “unlawful” when they violate other laws: § 17200
United States District Court
                               For the Northern District of California




                                                                         13   “borrows” violations of other laws, treating them as unlawful practices that are independently

                                                                         14   actionable under the UCL. Id. at 179 [citations omitted]. Practices are “unfair” when grounded in

                                                                         15   “some legislatively declared policy or proof of some actual or threatened effect on competition.”

                                                                         16   Id. at 186-87. “Unfair,” under § 17200, refers to conduct that could violate an antitrust law, that

                                                                         17   violates the policy or spirit of such laws, or that could otherwise significantly threaten or harm

                                                                         18   competition. Id. at 187. Practices are “fraudulent” when “members of the public are likely to be

                                                                         19   deceived”; more specifically, under the fraud prong, “reliance [on the part of the plaintiff] is an

                                                                         20   essential element of fraud.” Poldolsky v. First Healthcare Corp., 50 Cal. App. 4th 632, 647-48, as

                                                                         21   modified (Nov. 5, 1996), as modified (Nov. 20, 1996); In re Tobacco II Cases, 46 Cal. 4th 298,

                                                                         22   326 (2009).

                                                                         23          The FAL prohibits any “unfair, deceptive, untrue, or misleading advertising.” Cal Bus. &

                                                                         24   Prof. Code § 17500. The CLRA prohibits “unfair methods of competition and unfair or deceptive

                                                                         25   acts or practices.” Cal. Civ. Code § 1770. Claims asserting fraud or deception under each of these

                                                                         26   three statutes are analyzed using the “same objective test, that is, whether „members of the public

                                                                         27   are likely to be deceived.‟” Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 480 (C.D. Cal.

                                                                         28   2012) (quoting In re Tobacco II Cases, 46 Cal. 4th 298, 312 (2009)); see also Williams v. Gerber
                                                                                                                                5
                                                                         1    Prod. Co., 523 F.3d 934, 938 (9th Cir. 2008), opinion amended and superseded on denial of reh’g,

                                                                         2    552 F.3d 934 (9th Cir. 2008). Fraud claims under each statute require “proof of reliance on the

                                                                         3    alleged misrepresentations or omissions” by the defendant. In re MyFordTouch Consumer

                                                                         4    Litigation, C-13-3072-EMC, Docket No. 301 at 2 (N.D. Cal. 2016) (citing In re Tobacco II, 46

                                                                         5    Cal. 4th at 328).

                                                                         6           Plaintiffs allege that Defendant‟s mislabeling of its products with the term “evaporated

                                                                         7    cane juice” (“ECJ”) is unlawful under the UCL. SAC ¶ 6. As noted above, the Sherman law

                                                                         8    adopts and incorporates the federal Food Drug and Cosmetic Act, 21 U.S.C. § 301 et seq.

                                                                         9    (“FDCA”). 21 U.S.C. § 343(a). Under the FDCA, food is “misbranded” if “its labeling is false or

                                                                         10   misleading in any particular,” or if it does not contain certain information on its label or its

                                                                         11   labeling. 21 U.S.C. § 403(a). Accordingly, under the Sherman Law, products are “misbranded”

                                                                         12   when their “labeling is false or misleading.” See 21 U.S.C. § 343(a); 21 U.S.C. § 403(a).
United States District Court
                               For the Northern District of California




                                                                         13   Plaintiffs contend that Healthy Beverage‟s use of the term ECJ was “false and misleading” in light

                                                                         14   of the FDA‟s determination that ECJ is not the common or usual name for sugar. SAC ¶ 40; Final

                                                                         15   Guidance at 6.

                                                                         16          As an initial matter, the Court rejects Plaintiffs claim that reliance need not be shown for

                                                                         17   their claims arising under the “unlawful” prong or any other prong of the UCL in this case. The

                                                                         18   California Supreme Court has made it clear that, regardless of which prong of the UCL a plaintiff

                                                                         19   asserts, when the basis of the UCL claim is a claim of misrepresentation, a plaintiff must

                                                                         20   demonstrate actual reliance on the allegedly deceptive or misleading statements. Kwikset Corp. v.

                                                                         21   Superior Court, 51 Cal. 4th 310, 326, 327 n.10 (2011).

                                                                         22          Plaintiffs argue that if it is required, the requisite reliance can be inferred because Healthy

                                                                         23   Beverage‟s use of ECJ constitutes a “material misrepresentation,” and that even if the plaintiff

                                                                         24   fails to plead actual reliance, “a presumption, or at least an inference, of reliance arises wherever

                                                                         25   there is a showing that a misrepresentation was material.” Engalla v. Permanente Med. Group,

                                                                         26   Inc., 15 Cal. 4th 951, 977 (1997). A misrepresentation is judged to be “material” if “a reasonable

                                                                         27   man would attach importance to its existence or nonexistence in determining his choice of action

                                                                         28   in the transaction in question.” Engalla, 15 Cal 4th 951, 977 (1997). However, even where a
                                                                                                                                 6
                                                                         1    misrepresentation is material, a court cannot presume reliance “where the underlying theor[y] of

                                                                         2    liability is implausible.” Pratt v. Whole Food Mkt. California, Inc., No. 12-05652-EJD, 2015 WL

                                                                         3    5770799, *7 (N.D. Cal. Sept. 30, 2015). Nor can courts presume reliance where the record will

                                                                         4    not permit it. Caro v. Proctor & Gamble Co., 18 Cal. App. 4th 644, 668 (1993).

                                                                         5           Here, even assuming that the use of ECJ constitutes a material misrepresentation, Plaintiffs

                                                                         6    cannot plausibly claim to have relied on any such misrepresentation. Plaintiffs‟ SAC alleges that

                                                                         7    “Healthy Beverage‟s website, http://steaz.com, is incorporated into the label for each of

                                                                         8    Defendants‟ products.” SAC ¶ 14. That website specifically states that “cane juice is natural

                                                                         9    sugar.” SAC ¶¶ 106, 127. Since Plaintiffs specifically allege that they “read and reasonably relied

                                                                         10   on the labels” on Defendants‟ products, SAC ¶ 127, the materials they read include the statements

                                                                         11   on Healthy Beverage‟s website incorporated into the labels. Given that allegation, Plaintiffs

                                                                         12   therefore knew ECJ was in fact sugar. Thus, Plaintiffs cannot have reasonably relied upon
United States District Court
                               For the Northern District of California




                                                                         13   Healthy Beverage‟s misleading use of the term ECJ on its packaging. At the hearing on this

                                                                         14   motion, Plaintiffs‟ counsel did not dispute this fact. Indeed, counsel conceded that Plaintiffs “may

                                                                         15   have looked at” the website, but merely argued that they “did not focus” on it. Docket No. 101 at

                                                                         16   6:20-23. Whether or not they “focused” on Healthy Beverage‟s disclosure, they concede that read

                                                                         17   it. Under these facts, reliance on the package label is not reasonable. For that reason, Plaintiffs‟

                                                                         18   claims of mislabeling under the UCL, FAL, and CLRA all fail to state a claim.

                                                                         19          That leaves only Plaintiffs‟ claim for unjust enrichment. Healthy Beverage first argues that

                                                                         20   that claim should be dismissed on the ground that “in California, there is not a standalone cause of

                                                                         21   action for „unjust enrichment.‟” Astiana v. Hain Celestial Group, Inc., 783 F.3d 753, 762 (9th Cir.

                                                                         22   2015). As the court in Astiana recognized, however, California courts have stated that courts may

                                                                         23   construe an unjust enrichment claim “as a quasi-contract claim seeking restitution.” Rutherford

                                                                         24   Holdings, LLC v. Plaza Del Rey, 223 Cal. App. 4th 221, 231 (2014). Thus, as the Ninth Circuit

                                                                         25   previously explained, the “Supreme Court of California and California Courts of Appeal have

                                                                         26   recognized actions for relief under the equitable doctrine of unjust enrichment.” Naoko Ohno v.

                                                                         27   Yuko Yasuma, 723 F.3d 984, 1006 (9th Cir. 2013) (citing Ghirardo v. Antonioli, 14 Cal.4th 39

                                                                         28   (1996)). “The doctrine applies where plaintiffs, while having no enforceable contract, nonetheless
                                                                                                                                7
                                                                         1    have conferred a benefit on defendant which defendant has knowingly accepted under

                                                                         2    circumstances that make it inequitable for the defendant to retain the benefit without paying for its

                                                                         3    value.” Hernandez v. Lopez, 180 Cal.App.4th 932, 938 (2009). For example, Dunkin v. Boskey,

                                                                         4    82 Cal. App. 4th 171, 197 (2000), the court held that where a purported contract granting plaintiff

                                                                         5    paternity rights to a child conceived by artificial insemination, the plaintiff could nonetheless

                                                                         6    recover damages equal to the amount of benefit he had conferred on defendant in reliance of the

                                                                         7    agreement under an unjust enrichment theory. Alternatively, “a party to an express contract can

                                                                         8    assert a claim for restitution based on unjust enrichment by „alleg[ing in that cause of action] that

                                                                         9    the express contract is void or was rescinded.‟” Rutherford Holdings, 223 Cal. App. 4th at 231

                                                                         10   (quoting Lance Camper Manufacturing Corp. v. Republic Indemnity Co. 44 Cal.App.4th 194, 203

                                                                         11   (1996)).

                                                                         12          Late July is therefore incorrect in asserting that the unjust enrichment claims should be
United States District Court
                               For the Northern District of California




                                                                         13   dismissed solely on the ground that no such claim is cognizable under California law; it is, so long

                                                                         14   as the Court construes it as a quasi-contract claim for restitution. Nonetheless, Plaintiffs do not,

                                                                         15   and cannot, state such a claim. It is not clear whether Plaintiffs allege that they had a contractual

                                                                         16   relationship with Healthy Beverage on the basis of their purchases, but their claim fails under

                                                                         17   either theory of unjust enrichment. If Plaintiffs argue that Healthy Beverage accepted a benefit

                                                                         18   from them without a contract, it would not be “inequitable for [Healthy Beverage] to retain the

                                                                         19   benefit” where Plaintiffs acknowledge that they were aware of the true nature of ECJ. Hernandez,

                                                                         20   180 Cal.App.4th at 938. Conversely, to the extent Plaintiffs allege that they did have a contractual

                                                                         21   relationship with Healthy Beverage, the SAC contains no allegation that their contracts to

                                                                         22   purchase Healthy Beverage‟s products were “void or rescinded.” Rutherford Holdings, 223 Cal.

                                                                         23   App. 4th at 231. Plaintiffs merely state that “[b]y the actions described in this SAC,” i.e.

                                                                         24   fraudulent misrepresentation with respect to ECJ, “Defendant was unjustly enriched at the expense

                                                                         25   of Plaintiffs and the Class.” It is true that a fraudulent misrepresentation makes a contract

                                                                         26   voidable and/or subject to rescission. See Restatement (Second) of Contracts § 164 (1981); Cal.

                                                                         27   Civ. Code § 1689. But this is so only where the party seeking the remedy relied to his or her

                                                                         28   detriment on the misrepresentation. See Restatement (Second) of Contracts § 164 cmt. c (1981)
                                                                                                                                8
                                                                         1    (“No legal effect flows from either a non-fraudulent or a fraudulent misrepresentation unless it

                                                                         2    induces action by the recipient, that is, unless he manifests his assent to the contract in reliance on

                                                                         3    it.”). In short, any claim for unjust enrichment fails for the same reason that Plaintiffs‟ claims

                                                                         4    under the UCL, FAL, and CLRA fail; it depends on a finding that Plaintiffs‟ relied to their

                                                                         5    detriment on Defendants‟ misrepresentations. Because no such finding is plausible in light of

                                                                         6    Plaintiffs‟ allegations, the unjust enrichment claim fails as well.

                                                                         7    B.     Leave to Amend

                                                                         8           “After a party has amended a pleading once as a matter of course, it may only amend

                                                                         9    further after obtaining leave of the court, or by consent of the adverse party.” Eminence Capital,

                                                                         10   LLC v. Aspeon, Inc., 316 F.3d 1048, 1051–52 (9th Cir. 2003). Such amendments are governed by

                                                                         11   Federal Rule of Civil Procedure 15, which provides that “[t]he court should freely give leave when

                                                                         12   justice so requires.” Fed. R. Civ. P. 15(a)(2). The Ninth Circuit has instructed that “this policy is
United States District Court
                               For the Northern District of California




                                                                         13   to be applied with extreme liberality.” Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708,

                                                                         14   712 (9th Cir.2001) (quoting Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th

                                                                         15   Cir.1990)). At the same time, “[l]iberality in granting a plaintiff leave to amend is subject to the

                                                                         16   qualification that the amendment not cause undue prejudice to the defendant, is not sought in bad

                                                                         17   faith, and is not futile.” Bowles v. Reade, 198 F.3d 752, 757 (9th Cir. 1999).

                                                                         18          “A motion for leave to amend may be denied if it appears to be futile or legally

                                                                         19   insufficient. However, a proposed amendment is futile only if no set of facts can be proved under

                                                                         20   the amendment to the pleadings that would constitute a valid and sufficient claim or defense.”

                                                                         21   Miller v. Rykoff-Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988) (citing Gabrielson v. Montgomery

                                                                         22   Ward & Co., 785 F.2d 762, 766 (9th Cir.1986)).

                                                                         23          The Court finds that any amendment in this case would be futile. Plaintiffs have conceded

                                                                         24   reading Healthy Beverage‟s website, which disclosed that ECJ is “natural sugar.” An allegation of

                                                                         25   reliance, which is necessary for all of Plaintiffs‟ claims, is impossible. An amended complaint,

                                                                         26   moreover, may only allege “other facts consistent with the challenged pleading.” Reddy v. Litton

                                                                         27   Industries, Inc., 912 F.2d 291 (9th Cir. 1990) (citing Schreiber Distributing Co. v. Serv-Well

                                                                         28   Furniture Co., Inc., 806 F.2d 1393, 1401 (9th Cir. 1986)). Plaintiffs have already amended their
                                                                                                                                 9
                                                                         1    complaint twice. The Court will not allow them a third bite at the apple to amend a factual

                                                                         2    allegation that is squarely inconsistent with a prior allegation. Accordingly, the Court dismisses

                                                                         3    Plaintiffs‟ claims with prejudice.

                                                                         4                                          IV.    CONCLUSION

                                                                         5           For the foregoing reasons, the Court GRANTS Defendant‟s motion to dismiss and

                                                                         6    DISMISSES Plaintiffs‟ Second Amended Complaint with prejudice. The Clerk is instructed to

                                                                         7    enter judgment and close the file.

                                                                         8           This order disposes of Docket No. 92.

                                                                         9

                                                                         10          IT IS SO ORDERED.

                                                                         11

                                                                         12   Dated: May 2, 2017
United States District Court
                               For the Northern District of California




                                                                         13                                                   ______________________________________
                                                                                                                              EDWARD M. CHEN
                                                                         14                                                   United States District Judge
                                                                         15

                                                                         16

                                                                         17

                                                                         18

                                                                         19

                                                                         20

                                                                         21

                                                                         22

                                                                         23

                                                                         24

                                                                         25

                                                                         26

                                                                         27

                                                                         28
                                                                                                                               10
